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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


91 S. MAIN STREET, LLC, JOSEPH                       :
MOTTA, and KYLE O’HEHIR                              :        CASE NO.: 3:24-cv-1559
                 Plaintiffs                          :
                                                     :
v.                                                   :
                                                     :
STEADILY INSURANCE AGENCY, INC.,                     :
TIMOTHY ALFORD, and WESTCHESTER                      :
SURPLUS LINES INSURANCE COMPANY                      :        APRIL 7, 2025
         Defendants                                  :
                                                     :

            JOINT MOTION FOR REFERRAL TO MAGISTRATE JUDGE FOR
                          SETTLEMENT CONFERENCE

     The parties in connection with the above captioned matter jointly request this Court to

schedule a settlement conference before a Magistrate Judge. The parties have conferred and are in

agreement that the Court should schedule a settlement conference for the parties to explore

potential resolution of this matter.


                                                           THE PLAINTIFFS,
                                                           91 S. MAIN STREET, LLC,
                                                           JOSEPH MOTTA, and KYLE
                                                           O’HEHIR

                                                           BY: /s/ Jon D. Biller
                                                           Jon D. Biller
                                                           Fed. Bar # ct03546
                                                           Biller, Sachs, Robert & DeLaura
                                                           2750 Whitney Avenue
                                                           Hamden, CT 06518
                                                           Phone: (203) 281-1717
                                                           Fax: (203) 281-7887
                                                           attorneys@billerlawgroup.com




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                                                            THE DEFENDANT,
                                                            WESTCHESTER SURPLUS
                                                            LINES INSURANCE COMPANY

                                                            By: /s/ Raymond T. DeMeo
                                                            Raymond T. DeMeo
                                                            Robinson & Cole LLP
                                                            One State Street
                                                            Hartford, CT 06103
                                                            Phone: 860-275-8200
                                                            Fax: 860-275-8299
                                                            rdemeo@rc.com

                                                            THE DEFENDANT,
                                                            STEADILY INSURANCE
                                                            AGENCY, INC.
                                                            By: /s/Matthew J. Van Dusen
                                                            Matthew J. Van Dusen
                                                            Fed. Bar No. ct26520
                                                            Clausen Miller P.C.
                                                            28 Liberty Street, 39th Floor
                                                            New York, NY 10005
                                                            Phone (212) 805-3900
                                                            Fax: (212) 805-3939
                                                            mvandusen@clausen.com



                                       CERTIFICATION

       I hereby certify that on April 7, 2025, a copy of the foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-

mail to all parties by operation of the Court’s electronic filing system or by mail to anyone unable

to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the court’s CM/ECF System.




                                                              /s/ Jon D. Biller
                                                              Jon D. Biller




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